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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
IRIS E. CASTANEDA,                                             :

                                                             :     ORDER
                          Plaintiff,
                                                             :     19 Civ. 725 (RA) (GWG)
        -v.-

                                                             :
MARRIOTT INTERNATIONAL, INC., et al.,
                                                             :

                           Defendants.                         :
---------------------------------------------------------------X

GABRIEL W. GORENSTEIN, United States Magistrate Judge

       A discovery conference to resolve the matters raised in Docket ## 56-58 shall take place
on Friday, January 15, 2021, at 3:30 p.m.

        At the above date and time, the parties shall dial (888) 557-8511 and use access code:
6642374. (The public may also dial in but will be permitted only to listen.) The Court will
record the proceeding for purposes of transcription in the event a transcript is ordered. However,
any other recording or dissemination of the proceeding in any form is forbidden.

        When addressing the Court, counsel must not use a speakerphone.

        Each attorney or unrepresented party is directed to ensure that all other attorneys or
unrepresented parties on the case are aware of the oral argument date and time. In addition, any
requests for an adjournment must be made in compliance with Judge Gorenstein’s rules
(available https://nysd.uscourts.gov/hon-gabriel-w-gorenstein).

        SO ORDERED.

Dated: January 12, 2021
       New York, New York
                                                             ______________________________
                                                             GABRIEL W. GORENSTEIN
                                                             United States Magistrate Judge
